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 6                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 7                                       AT SEATTLE
 8
      AARON CLAXTON,
 9
                                   Plaintiff,                   No. C07-0491Z
10
      v.
                                                                ORDER OF DISMISSAL
11
      CITY OF SEATTLE, et al.,
12
                                   Defendants.
13

14

15           Counsel having notified the Court of the settlement of this matter and it appearing that

16   no issue remains for the Court’s determination,

17           NOW, THEREFORE, IT IS ORDERED that this case is DISMISSED with prejudice

18   and without costs.

19           In the event settlement is not perfected, either party may move to reopen and trial will

20   be scheduled, provided such motion is filed within 60 days of this date.

21           IT IS SO ORDERED.

22           The Clerk of this Court is directed to send uncertified copies of this Order to all

23   counsel of record.

24           DATED this 13th day of February, 2008.

25

26
                                                 A
                                                 Thomas S. Zilly
                                                 United States District Judge

     ORDER OF DISMISSAL -1-
